Case 4:19-cv-00685 Document 5-3 Filed on 06/24/19 in TXSD Page 1 of 3




         EXHIBIT 3
                     Case 4:19-cv-00685 Document 5-3 Filed on 06/24/19 in TXSD Page 2 of 3




                                                                                                                            201.40309202
            Recording Requested By:
                                                                                                                            07116/2014 RPl $16 . 00
            PHH Mortgage Corporation (PHHM) /

            When Recorded Return To :             \['J
           LEGAL ENTITY REVIEW DEPARTMENT
           PHH Mortgage Corporation (PHHM)
           1 MORTGAGE WAY
           PO BOX 5449
           Mt. Laurel , NJ 08054




                                                  CORPORATE ASSIGNMENT OF DEED OF TRUST
           Harris, Texas
           SELLER'S SERVICING #:7117250998 "THOMAS"
           SELLER'S LENDER I
           INVESTOR'S LOAN#:
           POOL#: AR9595

           MERS #:· · · · · · · SIS#: 1·888-679-6377

           Date of Assignment: June 25th ', 2014
           Assignor: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC., AS NOMINEE FOR FIRST CHOICE LOAN
           SERVICES , INC., ITS SUCCESSOR AND ASSIGNS at PO BOX 2026, FLINT, Ml 48501-2026                                                           1. a J
           Assignee: PHH MORTGAGE CORPORATION at 1 MORTGAGE WAY, MT LAUREL, NJ 08054                                                                 lfJ./
           Executed By: WILLIAM PAUL THOMAS AND CHANTINI THOMAS, HUSBAND AND WIFE To: MERS AS NOMINEE
           FOR FIRST CHOICE LOAN SERVICES INC.
           Date of Deed of Trust: 11/30/2012 Recorded: 12/06/2012 in Book/Reei/Liber: N/A Page/Folio: N/A as Instrument
           No.: 20120562886 In the County of Harris, State of Texas.

           Property Address: 3305 PARK WOOD DR, HOUSTON, TX 77021
           Legal Description: As Referenced on Original Recorded Document

            KNOW ALL MEN BY THESE PRESENTS , that for good and valuable consideration, the receipt and sufficiency of
          which is hereby acknowledged , the said Assignor hereby assigns unto the above-named Assignee, the said Deed of
          Trust having an original principal sum of $160,000.00 with interest, secured thereby, with all moneys now owing or
          that may hereafter become due or owing in respect thereof, and the full benefit of all the powers and of all the
          covenants and provisos therein contained, and the said Assignor hereby grants and conveys unto the said Assignee,
          the Assigno~s interest under the Deed of Trust.

             TO HAVE AND TO HOLD the said Deed of Trust, and the said property unto the said Assignee forever, subject to
          the terms contained in said Deed of Trust. IN WITNESS WHEREOF, the assignor has executed these presents the
          day and year first above written:

           MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC., AS NOMINEE FOR FIRST CHOICE LOAN
          SERVICE I           ., ITS SUCCESSOR AND ASSIGNS
          On ......;"""'-l"l'W-\1'---




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          STATE OF           btL
          COUNTY OF          )!.cULl I NG7J>tV
          Or:-   0~~
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                                     , before me, ~ l>:fl\1
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                                                              m the State of     ~
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                                                                                                  a Notary Public in and for
                                                                                                       , personally appeared
         DOLORES LAURIA, Assistant Secretary, personally known to me (or proved to me on the basis of satisfactory
         evidence) to be the person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me
         that he/she/they executed the same in his/her/their authorized capacity, and that by his/her/their signature on the
         instrument the person(s) , or the entity upon behalf of which the person(s) acted, executed the instrument.

         WITNESS my hand and official seal ,
                                                                                                             Hana Lyn C. Canlas
                                                                                                             Notary Public of New Jersey
                                                                                                             Y,Y Commission Expires March 1J, 2019

         Notary Expire~      /:3-   I ~   l't
                                                                                                                       (This area for notarial seal)




         'SB•S6PHHM'0612512014 09:52:23 AM• PHHM01 PHHMA000000000000000039328•   TX~IARRI' 7117250998 TXHARRI_TRUST_ASSIGN_ASSN ·~GPHt-IM '




   Any provision herein which restrict the sale, rental or use of the described Real Property because of color o.r race is .invalid .and
 unenforceable under the Federal Law. Confidential information may have been redacted from the document m compliance With the
                                                        Public Information Act.


A Certified Copy
Attest: 6/21/2019
Diane Trautman, County Clerk
Harris County, Texas


        -tu.c,... ~
       BREYANA JANE ELLIS                                                   Deputy
                                                                                                        ~        CON:4451821RP092170069
                       Case 4:19-cv-00685 Document 5-3 Filed on 06/24/19 in TXSD Page 3 of 3

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                                                  County Clerk, H4ifll ~ty, lbxas




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                                                                         COUNTY CLERK
                                                                         HARRIS COUNTY, TEXA.~ .




        Any provision herein which restrict the sale, rental or use of the described Real Property because of color or race is invalid and
      unenforceable under the Federal Law. Confidential information may have been redacted from the document in compliance with the
                                                             Public Information Act.

A Certified Copy
Attest: 6/2112019
Diane Trautman, County Clerk
Harris Councy, Texas


                  13u'Wcft ~
----~~~~~~I&Tn~~~-------Depucy
                  BREYANA JANE ELLIS
                                                                                                    ~'}F~
                                                                                                    ~ CON:445182IRP092170069
